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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA

          -   against       -                                        MEMORANDUM & ORDER
                                                                     16-CR-45 (MKB)
 JEFFREY HURANT,

                                     Defendant.
 ---------------------------------------------------------------
 MARGO K. BRODIE, United States District Judge:

          Defendant Jeffrey Hurant was indicted by a grand jury on charges of promoting

 prostitution in violation of the Travel Act, 18 U.S.C § 1952(a)(3)(A) and New York Penal Law

 sections 230.25 and 230.20 for running Rentboy.com, a website that purported to be a site that

 connected escorts with clients. (Indictment ¶ 27, Docket Entry No. 92.) Defendant’s company,

 Easy Rent Systems, Inc., was also indicted on charges of conspiring to launder money obtained

 from unlawful activity in violation 18 U.S.C. § 1956(a) and (h). (Id. ¶¶ 28–31.) Defendant pled

 guilty to promotion of prostitution and is scheduled to be sentenced on August 2, 2017. (Minute

 Entry dated Oct. 7, 2016, Docket Entry No. 105.)

          In the Pre-sentencing Report (the “PSR”), the United States Probation Department

 recommends that, under the United States Sentencing Commission Guidelines Manual (the

 “Sentencing Guidelines”), the Court should apply a base offense level of fourteen. (PSR

 Addendum 3, Docket Entry No. 120.) Defendant objects to the recommendation in the PSR,

 arguing that the Court should apply a base offense level of six. (Def. Letter dated July 20, 2016,

 “Def. Letter”) at 1–4, Docket Entry No. 126.) For the reasons discussed below, the Court rejects

 Defendant’s argument for a base offense level of six.
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    I.   Background

         Defendant is the owner and operator of Easy Rent Systems, Inc., which owns the

 Rentboy.com website. (Tr. of Plea Allocution (“Tr.”) 3, 6, 39, Docket Entry No. 107.)

 Defendant started the Rentboy.com website in January of 1996. (Tr. 6.) From January of 1996

 to August of 2015, Rentboy.com purported to be a website that connected escorts with clients,

 but in actuality was a commercial venture that “accepted payments from multiple [escorts in

 return for] promot[ing] their [willingness to] exchange [] sexual conduct in return for a fee.”

 (Tr. 39.) Based on that conduct, Defendant, on behalf of Easy Rent Systems Inc., pled guilty to

 conspiring to launder money obtained from an unlawful activity in violation of 18 U.S.C.

 § 1956(a) and (h). (Tr. 13, 27–28.) Defendant, on his own behalf, pled guilty to the promotion

 of prostitution in violation of 18 U.S.C § 1952(a)(3)(A) and New York Penal Law sections

 230.25 and 230.20. (Tr. 12, 38–39.) Defendant is scheduled to be sentenced on August 2, 2017.

   II. Discussion

         Defendant argues that, under the Sentencing Guidelines, his base offense level should be

 six because (1) a federal misdemeanor offense is the most analogous federal law to promotion of

 prostitution under New York law, and (2) he only pled to the misdemeanor offense — New York

 Penal Law section 230.20 — , not to the felony offense — New York Penal Law section 230.25.

 (Def. Letter at 1–4.) The Court addresses each argument in turn.

           a.   The Mann Act is the most analogous federal offense to promotion of
                prostitution under New York law

         Defendant’s base offense level under the Sentencing Guidelines depends on what federal

 offense is most analogous to the underlying state offense he was charged with. The parties

 disagree on what federal statute is most analogous to promotion of prostitution under New York

 law. The government argues and the PSR recommends that promotion of prostitution under New

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 York law is most analogous to the Mann Act, 18 U.S.C. § 2421, which, under the Sentencing

 Guidelines, carries a base offense level of fourteen. (PSR Addendum 3; Gov’t Letter dated July

 16, 2017 at 3–5, Docket Entry No. 125.) Defendant, on the other hand, argues that the most

 analogous federal offense is 18 U.S.C. § 1384, which bars the facilitation of prostitution near a

 location owned by the federal armed forces, and carries a base offense level of six. (Def. Letter

 at 2–4.) For the reasons discussed below, the Court finds that the Mann Act is the most

 analogous federal offense to the promotion of prostitution under New York law, and therefore,

 the applicable base offense level is fourteen.

        Section 2E1.2(a)(2) of the Sentencing Guidelines provides that an individual guilty of

 violating the Travel Act1 should receive “the [base] offense level applicable to the underlying

 crime of violence or other unlawful activity.” U.S. Sentencing Guidelines Manual § 2E1.2(a)(2)

 (U.S. Sentencing Comm’n 2016). Application Note Two of section 2E1.2 states that “[i]f the

 underlying conduct violates state law, the offense level corresponding to the most analogous

 federal offense is to be used.” Id. § 2E1.2 cmt. n.2.

        As charged in the Indictment, the underlying unlawful activities were violations of New

 York Penal Law sections 230.25 and 230.20. New York Penal Law section 230.25 provides in

 pertinent part:

                   A person is guilty of promoting prostitution in the third degree when
                   he or she knowingly [a]dvances or profits from prostitution by


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          The Travel Act provides in pertinent part that:
               Whoever travels in interstate or foreign commerce or uses the mail
               or any facility in interstate or foreign commerce, with intent to . . .
               otherwise promote, manage, establish, carry on, or facilitate the
               promotion, management, establishment, or carrying on, of any
               unlawful activity, and thereafter performs or attempts to perform . . .
               an act described in paragraph . . . (3) shall be fined under this title,
               imprisoned not more than 5 years, or both.
 18 U.S.C. § 1952(a)(3)(A).
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               managing, supervising, controlling or owning, either alone or in
               association with others, a house of prostitution or a prostitution
               business or enterprise involving prostitution activity by two or more
               persons in prostitution, or a business that sells travel-related services
               knowing that such services include or are intended to facilitate travel
               for the purpose of patronizing a person for prostitution, including to
               a foreign jurisdiction and regardless of the legality of prostitution in
               said foreign jurisdiction. . . . Promoting prostitution in the third
               degree is a class D Felony.

 N.Y. Penal Law § 230.25. New York Penal Law section 230.20 provides in pertinent part:

               A person is guilty of promoting prostitution in the fourth degree
               when he or she knowingly [a]dvances or profits from
               prostitution. . . . Promoting prostitution in the fourth degree is a
               class A misdemeanor.

 N.Y. Penal Law § 230.20.

        The Mann Act provides:

               Whoever knowingly transports any individual in interstate or
               foreign commerce, or in any Territory or Possession of the United
               States, with intent that such individual engage in prostitution, or in
               any sexual activity for which any person can be charged with a
               criminal offense, or attempts to do so, shall be fined under this title
               or imprisoned not more than 10 years, or both.

 18 U.S.C. § 2421. The base offense level for a violation of the Mann Act is fourteen. U.S.

 Sentencing Guidelines Manual § 2G1.1 (U.S. Sentencing Comm’n 2016).

        Section 1384 provides:

               Within such reasonable distance of any military or naval camp,
               station, fort, post, yard, base, cantonment, training or mobilization
               place as the Secretary of the Army, the Secretary of the Navy, the
               Secretary of the Air Force, or any two or all of them shall determine
               to be needful to the efficiency, health, and welfare of the Army, the
               Navy, or the Air Force, and shall designate and publish in general
               orders or bulletins, whoever engages in prostitution or aids or abets
               prostitution or procures or solicits for purposes of prostitution, or
               keeps or sets up a house of ill fame, brothel, or bawdy house, or
               receives any person for purposes of lewdness, assignation, or
               prostitution into any vehicle, conveyance, place, structure, or
               building, or permits any person to remain for the purpose of

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                lewdness, assignation, or prostitution in any vehicle, conveyance,
                place, structure, or building or leases or rents or contracts to lease or
                rent any vehicle, conveyance, place, structure or building, or part
                thereof, knowing or with good reason to know that it is intended to
                be used for any of the purposes herein prohibited shall be fined
                under this title or imprisoned not more than one year, or both.

 18 U.S.C. § 1384. The base offense level for a violation of section 1384 is six, as section 1384 is

 a federal misdemeanor offense. See U.S. Sentencing Guidelines Manual § 2X5.2 (U.S.

 Sentencing Comm’n 2016).

        Although the Second Circuit has not addressed which is the most analogous federal

 offense to promoting prostitution under New York law, other Circuit Courts have addressed

 similar issues and all have found the Mann Act to be most analogous to promoting prostitution

 offenses charged under the Travel Act. In addressing a nearly identical issue, the Fifth Circuit

 held that the Mann Act was the most analogous federal offense to a Texas penal statute

 prohibiting the promotion of prostitution. United States v. Langley, 919 F.2d 926, 929 & n.3,

 932 (5th Cir. 1990). In Langley, the defendant pled guilty to violating the Travel Act based on

 state law crimes of promotion of prostitution and aggravated promotion of prostitution. Id. at

 929 & n.3. Under the Texas statute, mere promotion was defined as a single act of participation

 in prostitution and was a misdemeanor offense, whereas aggravated promotion was defined as

 involvement in an enterprise consisting of two or more prostitutes and was a felony. Id. After

 the defendant pled guilty, the district court applied a base offense level of fourteen, finding that

 the most analogous federal offense was the Mann Act. Id. at 929–30. On appeal, the defendant

 argued that section 1384 was more analogous than the Mann Act and therefore his base offense

 level should have corresponded with a section 1384 violation. Id. at 930. The Fifth Circuit

 rejected the defendant’s argument, holding that “[a]lthough the offense as described in section




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 1384 is somewhat analogous to the relevant state offense, it is not as analogous as section 2421.”

 Id. at 932. The court explained that:

                Violation of section 1384 differs significantly from section 2421 in
                that violation of the former constitutes a misdemeanor and violation
                of the latter a felony. One of the state offenses violated by Langley’s
                conduct is, like section 2421, a felony. It would be inappropriate to
                sentence Langley for violating an analogous misdemeanor offense
                where a more analogous felony offense exists. . . . Further, section
                1384 may be violated by one isolated act of prostitution unrelated to
                any third person or ongoing activity, while [the state felony statute]
                requires in essence management or control of an ongoing, multi-
                person prostitution enterprise, a far more serious matter.

 Id.

        Further, in a case where the defendants were convicted of, inter alia, violating the Travel

 Act based on their involvement with an escort service that was a front for a prostitution business,

 the Ninth Circuit held that the Mann Act was the “most analogous federal offense” because “the

 underlying activity involved [was a] prostitution [business], which is precisely what [section]

 2421 was designed to prevent.” United States v. Gable, No. 93-30061, 1994 WL 266251, at *7

 (9th Cir. June 15, 1994). In addition, the Sixth Circuit affirmed the conviction of an individual

 who was convicted under the Mann Act for running an escort service that was a front for

 prostitution activity and where, among other things, he “use[d] [] a computer to advertise his

 escort service on the internet,” United States v. Murphy, 382 F. App’x 460, 462 (6th Cir. 2010).

 Similarly, the Fourth Circuit affirmed the conviction of an individual who was convicted under

 the Mann Act for posting “advertis[ements] in newspapers . . . seeking to women to serve as

 ‘escorts’” when she knew the actual purpose was for the women to serve as prostitutes at the

 club where she worked. United States v. Singh, 516 F.3d 236, 253–54 (4th Cir. 2008).

        Defendant cites no case law for his position that section 1384 is the most analogous

 federal offense. Therefore, based on the prevailing law in other Circuits, the Court finds that the

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 Mann Act is most analogous to the promoting prostitution offenses charged under the Travel

 Act.

            b.   Defendant’s plea allocution does not support the application of a different
                 offense level

        Defendant pled guilty to both the misdemeanor and felony prostitution offenses. (Tr. 38–

 39; Indictment ¶ 27.) Defendant argues, however, that because he did not allocute to “managing

 or controlling an ongoing, multi-person prostitution enterprise,” he pled only to a misdemeanor

 offense, making his plea more analogous to a section 1384 offense. (Def. Letter, at 2–4

 (alterations omitted).) The Court is not persuaded by Defendant’s argument.

        A defendant is guilty of the felony offense of promotion of prostitution when the

 defendant “[a]dvances or profits from prostitution by managing, supervising controlling or

 owning . . . [an] enterprise involving prostitution activity by two or more persons.” N.Y. Penal

 Law § 230.25.

        Defendant allocuted to the felony offense of promotion of prostitution in violation of

 New York Penal Law section 230.25.2 During the allocution, Defendant stated that he was

 “guilty because between January 1996 and August 2015, [he] owned and operated a website

 called Rentboy.com [where] [he] agreed with others to accept payments from multiple

 advertisers and promoted their exchange of sexual conduct in return for a fee in violation of New

 York State law.” (Tr. 39.) Defendant’s allocution therefore establishes that Defendant was

 guilty of the felony offense because he received “profits from prostitution by . . . controlling or

 owning . . . [an] enterprise involving prostitution activity by two or more persons.” See N.Y.




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           Because Defendant admits that he allocuted to the misdemeanor offense of promoting
 prostitution, (Def. Letter 2–4), the Court does not discuss the allocution as it pertains to that
 offense.
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 Penal Law § 230.25; People v. Ahmed, 898 N.Y.S.2d 134, 136–37 (App. Div. 2010) (holding

 that a defendant violated section 230.25 where “the evidence established that defendant did not

 engage the prostitutes through intermediaries, [but] [a]s a part of his enterprise, defendant

 himself acted as the direct link between [the person] and the two prostitutes”); People v. Galucci,

 404 N.Y.S.2d 768, 770 (App. Div. 1978) (holding that section 230.25 “is obviously designed to

 prevent . . . organized prostitution activity”).

         Because Defendant allocuted to both the felony and misdemeanor offenses of promoting

 prostitution, as discussed above, his offense is most analogous to the Mann Act.

   III. Conclusion

         For the foregoing reasons, the Court rejects Defendant’s arguments and finds that the

 most analogous offense under federal law is the Mann Act and, therefore, the appropriate base

 offense level under the Sentencing Guidelines is fourteen.



                                                          SO ORDERED:


                                                               s/ MKB
                                                          MARGO K. BRODIE
                                                          United States District Judge

 Dated: August 1, 2017
        Brooklyn, New York




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